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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

United States of America,           )
                                    )
      v.                            )          Case No. 21-CR-00302-CRC
                                    )
John Clarence Wilkerson IV,         )
                                    )
             Defendant.             )
                                    )
____________________________________)

                             ENTRY OF APPEARANCE

      Please enter the appearance of Booth M. Ripke, Nathans & Biddle, LLP, as

counsel of record for the Defendant, John Clarence Wilkerson IV, in the above

captioned case.



                                               Respectfully Submitted,


                                                      /s/
                                               ______________________________
                                               Booth M. Ripke
                                               Bar # 468504
                                               Nathans & Biddle, LLP
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                                               410-783-0272
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        Case 1:21-cr-00302-CRC Document 10 Filed 05/04/21 Page 2 of 2




                            CERTIFICATE OF SERVICE

     I hereby certified that on this 4th day of May, 2021, a copy of this Entry of
Appearance was served on the Office of the United States Attorney for the District of
Columbia, by e-filing through the Court’s CM/ECF electronic document filing system.


                                                           /s/
                                                     _____________________________
                                                     Booth M. Ripke
